Case 3:24-cv-00094-KHJ-MTP Document 1-3

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Chief of Police JACKSON POLICE DEPARTMENT Assistant Chief of Police
James E, Davis Office of the Chief of Police Joseph Wade

Su N O 7 2m

Terrance Tiller
126 Callaway Circie
Byram, MS 39272

Dear Mr. Tiller:

The purpose of this letter is to inform you that as of July 7, 2022, your employment as a Jackson
Police Office with the City of Jackson has been terminated.

When an employee is placed on Administrative Leave, a letter is drafied by the Intemal Affairs
Division. Before the employee signs the letter and given a copy, the letter is read to the employee
by the Internal Affairs Supervisor. The Internal Affairs Supervisor instructs the employee of their
obligations and conditions while on Administrative Leave. One of the instructions listed in the
letter, informs the employee that they are to check in with the Internal Affairs Division each day
(Monday-Friday) between the hours of 0830-0930 by calling the number listed.

On several occasions, you filed to check in as a condition of being placed on Administrative
Leave. You were informed on several occasions by the Commander of the Internal Affairs
Division, the consequences of not following the directives given to check in Monday-Friday.
You were informed that if you did not check in each day, it would be considered as a no show
for work and you would not be paid. Although you are not physically at work, you are obligated

to the City between the hours of 8am until Spm, Monday-Friday as a form of = work schedule.
You have failed to check in May 18, 2022-July 6, 2022, which is considered job abandonment.

